 

Case 2:13-cv-00857-UA-SH Document 1-1 Filed 02/07/13 Pagelot 94 Page,f’>®jfj

Maor\c'e' johnson

FULLNAME

 

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UNITED STATES I)ISTRICT COURT
CEN'I`RAL DISTRICT OF CALIFORNIA

 

 

 

 

 

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DEFENDANT(S) m Biveas'v.'s§ix§i)mmown Agents 403 U.s. sss 119711

 

A. PREVIOUS LAWSUITS

l. Have you brought any other lawsuits in a federal court while a prisoner: Yes ij No

2. If your answer to ‘_‘1. ” is yes how mauy'? 1 1 ,§ fnl l

Describe the lawsuit in the space below. (lf there is more than one lawsuit, describe the additional lawsuits on an
attached piece of paper using the same outline .)

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CIV|L» RIGHTS COMPL.A!NT
CV-66 ('1‘.1'9'1) ' Page 1 0f6

 

Case 2:13-cv-00857-UA-SH Document 1-1 Filed 02/07/13 Page`Z of 94 Page |D #:6

a. Parties to this previous lawsu`it:
Piainnrf Mnurice- Jolimori

 

 

Defendants

 

 

b. Court ilNlTED SNES DlSlRlC‘/T (`OURT EAS\_l-:Ri\l D`\STR\(`,T QF (`J-\l_lFORi\\l/><

 

c. Docltet or case number 2'»\2'“0\/#~ 27\9" GEP) " Ji: M
cl. Narne of judge to whom case was assigned litig Gririci'(l(i E-.Butrei\; ;lr. Ci(id Mac)it_‘$l'mtc lrigi€‘ -Joiin §Mid§
e. Disposition (For example: Was the case dismissed? lf so, what was the basis for dismissal'? Was it

appaaied? is ii siiii pending?) Si.-'i\l pending

f. Issues raised:

 

 

 

g. Approxiinate date of filing lawsuit: i \~‘ 2@~20\2
h. Approximate date of disposition Sfl\i i`)etd`it’i€}

B. EXHAUSTION OF ADl\/IINISTRATIVE REN[EDIES

1. ls there a grievance procedure available at the institution where the events relating to your current complaint
occurred? E. Yes l:l Np

2. Have you filed a grievance concerning the facts relating to your current complaint? E Yes |:l No

If your answer is no, explain why not

 

 

 

 

3. ls the grievance procedure completed? Bl Yes 't'] No

If your answer is no, explain Why not

 

4. Please attach copies of papers related to the grievance procedure
C. JURISDICTION

This complaint alleges that the civil rights of plaintiff |VIQU i" it`('z crc>iit‘._‘ 331",
(pr'int plaintist name)

who presently resides at iiitjii DC:¢;{>¥T. éjii;il@}:i’lfiotii PO BOPK 3039 .¢rb'ti_‘,»tlfiv'tii€icpf[ 9£912'7 ,

mailing address or place of confinement)

were violated by the actions of the defendant(s) named below, which actions were directed against plaintiff at
. ‘ . f i . ‘ '
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(institutionlcity where violation occurred)

 

 

CIViL RlG}'lTS COMPLA\NT
CV-66 (7[97) Page 2 of 6

 

 

Case 2:13- - -
cv 00857 UA-SH Document 1-1 Filed 02/07/13 Page 3 of 94 Page |D #'7

 

on (date or dates) i_di;§ "__A§ " "~ - ,¢, ' P.Y -
(%‘\RW ( aiml )
NOTE: You need not name more than one defendant or allege more than one clairn. If you are naming more than
five (5) defendants, make a copy of this page to provide the information for additional defendants

i. Defendant ' OY " i.. -H______J _L,_
name o irst e cndant)
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The defendant is sued in his/her (Check one or both)'. Bindividual 7 E official capacity.

Explain how this defendant was acting under color of law:
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2. Defendant NI`\'C`(\€~\€ resides or works at

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(t"ull address of first defeiidant)

   

The defendant is sued in his/her (Check one or both): B individual Eoft"tcial capacity.

Explain how this defendant was acting under color of taw: l
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3. Defendani § § ll ! join l_i§eeéc oa(]}t()i i~ii=‘r?.iti\ `OSUYGHC€ Giu£tmfiir*£: lsei<jocldtioL resides or works at
'°YFS`Y-iiii ca 9020\-33\9

' (full address'tii` first deiendant)

 

 

(defendant's position and title, if any)

The defendant issued in his_!_her (Checlt one or both): Biridividual B.official capacity.

Explain how this defendant was acting under color of law‘.

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ClVIL RlGHTS CO NlPL.M NT

CV-66 (71‘97) Page 3 of 6

Case 2:13-cv-00857-UA-SH Document 1-1 Filed 02/07/13 Page 4 of 94 Page |D #:8

. D-efendant gsa AMEP\\CP¥N LWE iN§\)§N\\C§E C»Oi’ip¢\i\i\l( resides or works at

name of first defendant)

P¢O "Pmi ZB{Q'IO Si‘nitscit:ie‘l. /3<.7. 315'2_55

(full address of t'irst defendant)

 

(defendant‘s position and tit\e, if any)

The defendant is sued in his/her (Check one or both)'. [El\individual lil\ofi“icial capacity.

Explain how this defendant was acting under color of law:

t\tOT Dtsco\le'lai>”i> list title title

Defendant F-DLDEN \Siib\_i_i:- i/il/`Wl\'l_ Ui:'¥ ii\U)iQANC€ C(ii“ii']jii\i\{ \[`i Li{;[`.t/iDmi(§;ides or works at

(full name of first defendant)
(full address of first defendant)

(deiendarit's position and tit\e, if any)

.The defendant is sued in hisi‘her (Check one or both): l§§l\individual ,E}official capacity.

Explain how this defendant was acting under color of law: .
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Cl\'ll., R|GHTS COMPL.A}NT
Page 4 of 6

CV»66 (7[97)

 

Case 2:13-cv-00857-UA-SH Document 1-1 Filed 02/07/13 Page 5 of 94 Page |D #:9

D. CLAIMS*
CLAIM l

The following civil right has been violated:

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Facts'. lnclude all facts you consider important State the facts clearly, in your own words, and without

Supporting
in separately numbered paragraphs, exactly what each

citing legal authority or argument. Be certain you describe,

DEFENDANT (by name) did to violate your right.

SEe at"iacite’o XZ; tier/ria r>.e_ alvin

 

 

 

 

 

 

 

 

 

*Ifi.`liere is more than one claim, describe the additional claim(s) on another attached piece of paper using the same

outline

 

CIVIL RlGl-I'I`S COMPLA]NT
Page 5 of 6

C\»'-E»fi (7»'9'»')

Case 2:13-cv-00857-UA-SH Document 1-1 Filed 02/07/13 Page 6 of 94 Page |D #:10

E. REQUEST FOR RELIEF

l believe that l am entitled to the following specific relief:

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Case 2:13-cv-00857-UA-SH Document 1-1 Filed 02/07/13 Page 8 of 94 Page |D #:12

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Case 2:13-cv-00857-UA-SH Document 1-1 Filed 02/07/13 Page 9 of 94 Page |D #:13

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_ly:. DEFENDANT§

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' [BI AMERICAN

LiFE iNSURANCE COMPANY
P.O. Box 25670 Scottsdaie AZ, 85255

American Hea|tri and l_ife insurance Company (800) 711-3454
Go\deri State l\/iutuai (800) 225-5476

l\/larch ll, 2011

MAURlCE ]OHNSON D-6 8642

l-llGH DESERT STATE PRlSON D2-l 05
P.O. BOX 3030

SUSANVILLE, CA 96127

Re'. Policy Number: . 813057'?4
lnsured'. - MAMIE JOHN SON
Beneiiciairics per Affidayit
Under California Probate Code lSlOl: NASA RAY, MAURICE JOHNSON, BR]AN
' NEWBURN

l
Dear Sir:

Thanl< you for your recent request and for the opportunity to be of service

In review in the above listed pending claim, we show that the following marked items are needed in order
to complete our claims review:

i:l A certified death certificate With the original seal

K A C\airnant’s Staternent Forrn completed and signed by you. (Thie form must be Witnessed
by a non-relative).

§§ ute cement claim Form.

ll The entire original policy. (If` the policy cannot be located please corriplete the enclosed
i'.osi Poiicy Affida\/it).

l:l A copy cline obituary, il one is available
fl Stalament of Kirisliip completed by all surviving children

ij Primary beneficiary’$ Deatn` Certificate

if you have any questions or need assistance you may call our office Our office hours are 7am to me
Monclay through 'l`hurstlay and Sam to l2pin on Friday, l\/IST. You may also entail our client service

professionals at CSR§€_Diaamerican.com.

Sincerely,
Life Atimihislration

CaSe'2:13-cv-00857-UA-SH Document1-1 Filed'O2/O7/13 Page 22 of 94 Page|D\#:26

   

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Maurice Johnson, D-68642

High Desert State Prison, 02-201
P.O. Box 3030

Susanville, CA 961 27

anne 19,'2011

American Health and Life Insurance Company
P.O. Box 256?0
Scottsdale, AZ 85255

Re: Policy Number: 81305774
ln$uret`l: MAMIE L. JOHNSON

'1'0: Life Administration Dept.
Dear Sir/'Madam: 7

I criginally sought resolution of the issuance of payment of policy number
81305774 approximately sometime in early Fe`oruary. Expressing displeasure

at the lack of professionalism of your sister company in their due diligence
to notify and/or forward my beneficiary payment to me. Especially, in light
of the fact , that pa, ents were issued to both of the other beneficiariesi
Nasa A. Ray and Brian P. Newburn respectively, on Decernber 23, 2009. I formal~
ly request to be provided with the interest which has accrued since the
insured passing in November 2007 until the present on the above mentioned
benefit payment.

On April 10, 2011, I returned the requested completed, singadlr and witnessed
Cla:i.mant‘s Statement i?‘orm and L:i.fe Benefit Claim Form per request from your
letter to me dated March ‘l‘i , 2011. After not receiving a return reply from
your company, I called on June i, 20‘l‘| , and spoke with an agent Jason,r who
was both helpful and professional. Informing me that everything was in Order,
verified my current location and stated that I would be receiving a check

in approximately two weeks. It's now June 19, 2011, and I still have yet

to receive anything from your company. l am quickly losing patience with
this exceedingly slow process. This will be my last formal written attempt
at obtaining my benefit payment before seeking legal action.

Thanki_ng you in advance for your prompt attention to this matter.

Sincersly ,

 

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CaS€ 2213-CV-00857-UA-SH

Our Mission

On behait ot the insurance Commissioner. the
CLO acts to rehabilitate and/or tiquidaie, under
Couri supervision, troubied insurance
enterprises The CLO operates as a fiduciary
tor the banth ot ciaimants, handiing the propeiiy
ot the taiin enterprises in a prudent, cost-

Document 1-

 

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P.O. Eiox 26894

San Franciscn, Caiitornia
94126»0894

Tet.' 415.676.5000

Fax: 415.676.5002
www.cactc,org

effective tair, timeiy, and expeditious manner

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CoNsERvATloN a
LlQUlDATloN OFFlcE

 

 

rely 8, 2011

Maurice Johnson, D-68642

High State Desert Prison 132-105
Post Office 3030

Susanville, CA 96127

Re: Goiden Stai.e ivlutuai Lii”e lnsurance Coinpany in Liquidation
Policyholder: Marnie L. Johnson
Policy Number: 81305774

Dear I\/lr. lohnson'.

On lanuary 28, 2011 the Superior Court of the State of California, Los Angeles County granted
California lnsurance Cornrnissioner Dave Jones’ motion for the liquidation of Golden State
Mutual Life lnsurance Cornpany. We are the commissioner’s court approved liquidation
representatives

lA American forwarded your letter of lurie 19, 2011 to me for a response

Prior to liquidation all Golden State Mutual (GSM) iri-force policies Were assumed by lA
American. Uni`ortunately, the above referenced policy was not included in the in~force policy
group as GSM’s electronic records showed the policy as paid out.

Within the next 45 days all pending policy related matters not assumed by IA Anierican Will be
transferred to the National Organization of Lii`e and Health Guaranty Associations (NOLHGA)
for further handling `r'our claim will be among this group Shortly after receipt of the tile,
NOLGHA or your state’s life and health guaranty association Will contact you to resolve this
niatter.

You may reach me at the above address or by telephone at (415) 676-2101. My email address is:
vassni@caclo.org _F..=--.=e-;-.-_; 7

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Case,2:13-cv-00857-UA-SH Document 1-1 Filed 02/07/13 Page 26 of 94 Page |D #:30

   

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PROVIDE REASON WHY YOU DISAGREE WITH STAFF RESPONSE AND FORWARD 'l`O RESPONDENT‘S SUPERVISOR IN PERS()N ()R BY US MAIL. K_EEP FINAL CANARY

 

 

 

 

 

 

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"St'tut`°"' inmate Statement Report

CDCR#

   
 

Current Avai|able Ba|ance:

lnstitution Unit

 

 

hransagtion List

Transaction

 

Date |nstitution Transaction Type Source Doc# Receipt#fCheck# Amount Account Balance
1 1101/2007 HDSP BEG|NN!NG BALANCE $0.00
11103/2008 HDSP CONVERS|ON Conversion 1 $39.35 $39.35
11)'1 012008 HDSP EFT DEPOS|T 91005 25 $50.00 $89.35
11/10/2008 HDSP REST|TUTION F|NE ($25.00) $64.35
PAYMENT
1 11'10!2008 HDSP ADM|N|STRAT|VE FEE ($2.50) $61.85
1 1115/2008 HDSP SALES 21 ($33.80) $28.05
1 1119/2008 HDSP SALES 21 ($28.05) 3000
01126)‘2009 HDSP REST|TUT|ON F|NE $25.00 $25.00
PA‘(MENT
01.'26/2009 HDSP ADM|N|STRAT|VE FEE $2.50 $27.50
02/031'2009 HDSP EFT DEPOS|T 91090 330 $70.00 $97.50
02.'03/2009 HDSP LEGAL COPY 116!09 ($1.00) $96.50
02103/2009 HDSP LEGAL |V|AlL 01/09/09 ($4.80) $91.70
02/0312009 HDSP LEGAL N\A|L 01)'09/09 ($1.85) $89.85
02/10/2009 HDSP EFT DEPOS|T 91097 367 $200.00 $289.85
02!10/2009 HDSP SALES 19 ($160.00) $109.85
03:'02/2009 HDSP EFT DEPOS|T 91115 449 $50.00 $159.85
03110/2009 HDSP SALES 6 ($135.40) $24.45
03/11/2009 HDSP SALES 12 ($24.45) $0.00
015/1 5/2009 HDSP EFT DEPOS|T 91221 1056 $150.00 $150.00
06117/2009 HDSP SALES 20 ($146.85) $3.15
015/1 9/2009 HDSP SALES 36 ($3.15) $0.00
06»'25)'2009 HDSP N||SC, |NCO|V\E (EXEM PT) 04-839131 1133 $180.00 $180.00
07/01/2009 HDSP SALES 26 ($30.00) $150.00
07.'06/2009 HDSP N|ED|CAL COPAY DENT 711 5109 ($5.00) $145.00
O?IZOIZOOQ HDSP EFT DEPOS|T 91254 1233 $100.00 $245.00
07120»'2009 HDSP MEDICAL COPAY DENT 6/18/09 ($5.00) $240.00
08105.12009 H DSP SALES 27 ($180.00) $60.00
08110/2009 HDSP EFT DEPOSlT 91277 1343 $300.00 $360.00
081'11/2009 HDSP SALES 29 ($78.10) $281.90
081'11!2009 HDSP SALES 31 $18.50 $300.40
0811 212009 HDSP SALES 50 ($120.40) $180.00
091'1 412009 HDSP EFT DEPOS|T 91313 1522 $20.00 $200.00
0911612009 HDSP SALES 16 ($118.90) $81.10
09.'1 812009 HDSP SALES 11 ($24.80) $56.30

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'"St`t"t`°“' HDSP |nmate Statement Report

Transaction

 

Date |nstitution Transaction Type Source Doc# Receipt#ICheck# Amount Account Ba|ance
0911812009 HDSP SALES 14 ($1.80) $54.50
1012212009 HDSP SALES 47 ($52.15) $2.35
1111 212009 HDSP SALES 40 l ($2.35) $0.00
1 113012009 HDSP EFT DEPOS|T 91388 1882 3200.00 $200.00
1210312009 HDSP PAY - SUPPORT 32 1 1109 $12.00 $212.00
1211512009 HDSP SALES 41 ($160.95) $51.05
1212112009 HDSP SALES 13 ($19.05) $32.00
0110712010 HDSP PAY - SUPPORT 08 12109 $10.92 $42.92
01113/2010 HDSP SALES 16 ($28.35) $14.57
0111412010 HDSP EFT DEPOS|T 91433 2091 $50.00 $64.57
0111512010 HDSP SALES 11 ($15.25) $49.32
01/1612010 HDSP SALES 15 ($49.30) $0.02
0112512010 HDSP EFT DEPOS|T 91444 2151 $150.00 $150.02
0210512010 HDSP SALES 19 ($87.10) $62.92
0210512010 HDSP GROUP TRANSFER OUT D 5 PlZZA ($53.00) $9.92
02109/2010 HDSP PAY - SUPPORT .OB 01110 $9.36 $19.28
0211212010 HDSP GROUP TRANSFER lN D 5 P|ZZA $53.00 $72.28
0310312010 HDSP PAY - SUPF'ORT 08 02110 $2.60 $74.88
0311112010 HDSP SALES 18 . ($74.85) $0.03
0411312010 HDSP PAY - SUPPORT 08 03110 $4.16 $4.19
0411412010 HDSP SALES 45 (94.15) $0.04
0411512010 HDSP EFT DEPOS|T 91524 2571 $100.00 $100.04
0411612010 HDSP SALES 33 ($'| O0.0D) $0.04
0411912010 HDSP EFT DEPOS|T 91527 2579 $200.00 $200.04
0412112010 HDSP GROUP TRANSFER OUT PHOTO D5 ($35.00) $165.04
0412212010 HDSP SALES 10 ($75.85) $89.19
0511112010 HDSP PAY - SUPPORT .10 4110 $4.50 $93.69
0511212010 HDSP SALES 47 ($93.55) $0.04
0511412010 HDSP EFT DEPOS|T 91553 2723 $40.00 $40.04
0610912010 HDSP SALES 48 ($39.90) $0.14
0511412010 HDSP EFT DEPOS|T 91583 2866 $100.00 $100.14
0611512010 HDSP SALES 10 ($79.90) $20,24
0611812010 HDSP SALES 7 1 ($20.24) $0.00
0810912010 HDSP PAY - SUPPORT 32 07110 $14.40 $14.40
0811112010 HDSP SALES 41 ($14.40) $0.00
0811312010 HDSP PAY - SUPPORT 32 05110 $15.68 $15.68
0811312010 HDSP PAY - SUPPORT 32 06110 $33.60 $49.28
0911012010 HDSP SALES 15 ($49.15) $0.13
10/14/2010 HDSP PAY - SUPPORT 32 09110 $14_40 $14_53
1011412010 HDSP PAY - SUPPORT 32 08110 $17.28 $31.81

1011812010 HDSP EFT DEPOS|T 91709 3275 $40.00 $71.81

Date\Tim€é\§/éa??l@]éi\??’€§®@`$%UA-SH DOCUm€nt 1€DCRi|€d 02/07/191"19`@@€%9-91-94_%@€-|-|3-#%314__

lnstitution: HDSP

|nmate Statement Report

 

Transaction

Date |nstitution Transaction Type Source Doc# Receipl#l€heck# Amount Account Balance
1012012010 HDSP SALES 22 ($67.15) $4.66
1012312010 HDSP SALES 11 ($4,65) $0,01
1 112212010 HDSP EFT DEPOS|T 91744 3400 $50.00 $50.01
1 1124/2010 HDSP SALES 15 ($50.00) $0.01
1210812010 HDSP PAY - SUPPORT 32 11110 $26.56 $25.57
1210812010 HDSP PAY - SUPPORT 32 11110 328.80 $55.37
1211012010 HDSP PAY - SUPPORT 32 10110 $26.56 $81.93
1211612010 HDSP SALES 21 ($24.40) $57.53
1211712010 HDSP PA¥ - SUPPORT 32 11110 ($26.56) $30.97
1212012010 HDSP SALES 2 ($9.90) $21.07
12/2212010 HDSP EFT DEPOS|T 91774 3493 $50.00 $71.07
12124/2010 HDSP SALES 3 ($25.05) $46.02
1212412010 HDSP GROUP TRANSFER OUT FSALE D-2 ($46.00) $0.02
01103/2011 HDSP GROUP TRANSFER |N FSALE D-2 $46.00 $46.02
0110612011 HDSP PAY - SUPPORT 32 12110 327.04 $73.06
0111412011 HDSP SALES 2 ($39.20) $33.86
0210912011 HDSP SALES 35 ($33.75) $0.11
0410612011 HDSP PAY - SUPPORT 32 3111 $41.60_ $41.71
0411212011 HDSP SALES 6 ($41.70) $0.01
0412612011 HDSP lN N|ATE DE POSiT 1409109328 3930 $100.00 $100.01
0510612011 HDSP PAY - SUPPORT 32 04111 $16.64 $116.65
0511312011 HDSP SALES 13 ($116.65) $0.00
0610812011 HDSP PAY - SUPPORT .32 5111 $14.56 $14.56
0611412011 HDSP SALES 31 ($14.55) $0.01
08103/2011 HDSP PAY - SUPPORT 32 06111 $14.56 $14.57
0810512011 HDSP PAY - SUPF’ORT 32 07111 $35.36 $49.93
091061201 1 HDSP SALES 42 ($49.90) $0.03
0910712011 HDSP EFT DEPOSiT 92033 4636 $120.00 $120.03
0910812011 HDSP SALES 18 ($120.00) $0.03
1010712011 HDSP PAY - SUPPORT 32 09111 $18.72 $18.75
1011912011 HDSP SALES 43 ($18.75) $0.00
1013112011 HDSP EFT DEPOS|T 92086 4870 $75.00 $75.00
1111412011 HDSP LEGAL COPY LC10127111 ($0.70) 374.30
1210212011 HDSP MED|CAL COPAY DENT 11129111 ($5_00) $69.30
1210612011 HDSP PAY - SUPPORT 32 10111 522.88 $92.18
1211412011 HDSP SPO W|THDRAWAL 4QTR-ACCESS 215322 ($73.60) $18.58
1211412011 HDSP IWF FEE 4QTR-ACCESS ($6.86) $11.72
1212312011 HDSP SPO WlTHDRAW/\L HDSP-SUTHERN 215358 ($2.00) $9.72

COMFORT
0210312012 HDSP SPO WlTHDRAWAL HDS P-BEYOND 215567 ($7.00) $2.72
THE WALL

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|nmate Statement Report

|nstitution: HDSP

Transaction

 

Date lnstitution Transacfion Type Source Doc# ReceipU¢i'Check# Amount Account Ba|ance
0210312012 HDSP 7 lWF FEE HDSP-BEVOND ($0.70) $2.02
THE WALL
0212112012 HDSP LEGAL MA|L L|_\.1|2117112_ ($2.02) $0.00
0411012012 HDSP EFT DEPOS|T 92249 5435 5175.00 $175.00
0510312012 HDSP SALES 26 ($174.99) $0.01
0510812012 HDSP EFT DEPOS|T 92277 5544 $235.00 $235.01
0510912012 HDSP SALES 31 ($45.00) $190.01
0511512012 HDSP SALES 21 ($163.15) $26.86
05115/2012 HDSP SALES 27 ($26.85) $0.01
0610412012 HDSP PAY - SUPPORT 32 04/12 $10.40 $10.41
0610512012 HDSP SALES 29 ($10.41) $0.00
0610612012 HDSP PAY - SUPPORT 32 05112 $45.76 $45.76
0611 112012 HDSP EFT DEPOSIT 92309 5653 $150.00 $195.76
0611212012 HDSP SALES 16 ($130.75) $65.01
0611312012 HDSP GROUP TRANSFER OUT D2 201 FS ($64.00) $1.01
0612112012 HDSP SALES 32 ($1.01) $0.00
07106/2012 HDSP PAY - SUPPORT 32 06112 $43.68 $43.68
0711012012 HDSP SALES 48 ($40.25) $3.43
0711112012 HDSP SALES 28 ($3.43) $0.00
0711312012 HDSP EFT DEPOS|T 92343 5747 5175.00 $175.00
0711312012 HDSP SALES 34 ($174.99) $0.01
0811412012 HDSP MED|CAL COPAY DENT 817112 ($0.01) $0.00
0910512012 HDSP PAY - SUPPORT 32 07112 $47.04 $47.04
0910512012 HDSP MED|CAL COPAY DENT 817112 ($4.99) $42.05
0911112012 HDSP SALES 4 ($41.78) $0.27

 

\Encumbrance List

 

 

 

 

 

Encumbrance Type Transaction Date Amount
Other Encumbrance 1011012012 $0.27
| obligation List
Sum of Tx for Date

Ob|igation Type Court Case# Original Owed Ba|ance Range for Ob|g Current Balance
ART|FlC|AL PARTA|L UPPER $110.00 $0.00 $109.73
APPL|ANCE

N|ED|CAL COPAY N'|ED 11114112 $5.00 3000 $5.00

 

| BeStitution List

Restitution

F|NE

Co u rt Casc#
REST|TUT|ON YA026755

Status
Fu|fi\|ed

Origina| Owed Ba|ance Interest Accruecl
$200.00 $0.00

Sum of Tx for Date
Range for Oblg

$0.00

Current Balance
$0.00

'Case 2:13-cV-00857-UA-SH Document 1-1 Filed 02/07/13 Page 32 of 94 Page |[)__#:36

   

Case 2:13-cv-00857-UA-SH Document 1-1 Filed 02/07/13 Page 33 of 94 Page |D #:37

Maurice Johnson,r D~68642

High Desert State Prison 02~201
Post Office Box 3030
Susanville, CA 96127

July 25 , 2011

Re: Golden State Mutual T_.ife Insurance Ccmpany in Liquidation/IA American
Life Insurance Company

Policy Nuirber: 81305774

Insured: MAD'E|IE‘. L. JOHNSON

Beneficiaries per Affidavit

Under California Probate Code 13101: NASA RAY, MURICE JOHNSON, BRIAN
NEMBURN

Dear Mrs. Vass:

Due to the incornr‘.)etency,r inefficiency, and unprofessionalism of Golden State
Mutual (GSM} , and then subsequently, IA American; I have presently been unlaw-
fully denied beneficiary payment entitled to me per Affidavit Under California

Probate Code 13101. E‘ipec:'i.fically,r Policy Number: 81305'1'14 Insured: MAN£IE
`JOHNSON. '

The Life Insurance Policy of Mamie L. Johnson, my mother, has been contractu-
ally broken and illegally only partially paid out to the other two named
beneficiaries. 'I‘he covenant established relative to being an actual named
beneficiary became both , a breach of fiduciary duty and breach of contract

in one action. Golden State Mutual Policy Number: 81305774, should have shown
iri-force policy as it was only partially paid out. As of the above listed
date, I have not received any payment from either (GSM) nor IA American.

The error of (GSM) electronic records showing the policy as paid out Specifi-
cally relates to a lack of diligence , fiduciary duty,r oversight, and possible
malfeasance on the part of (GSM) and IA American. 'I'heir failure does not

and could not rest with me as named beneficiary of the policy, particularly

in light of the fact that unbeknownst to me the two other named beneficiaries
were paid on December 23, 2009.

Under a general assumpsit,r my action & formal written request to you and
your represented _Company is for the debt of the specific amount owed,r in
addition to , any and all accrued interest since the insured passing in Nov.
200'1. Further, as named beneficiary of Policy Number: 81305”174, I am formally
requesting to be provided with either the original and/or an official legal
copy of said life insurance policy in its entirety.

l am extremely exasperated with the stall tactics, the transferring of duties
and responsibilities from one company to the next, and basically procrastinat-
ing on paying out the policy in full; when it is clear that ultimate responsi-
bility lay SOlely with IA Amel‘i€arl. 1 should not have to be dealing with

any other organization regarding payment of a Life insurance policy , which

in all honesty,r should have been resolved in it‘s entirety years ago.

Case 2:13-cv-00857-UA-SH Document 1-1 Filed 02/07/13 Page 34 of 94 Page |D #:38

If, in fact, it is the CLO Mission to operate as a fiduciary for the benefit
of claimant's handling the property of the failed enterprises in a prudentr
cost effective, fairr timely, and expeditious mamier. I am in drastic need

of your services. Nothing so denies a person liberty as the total absence
of money.

No proceeding is now being or has been conducted in California for administra-
tion of the decedent's estate. All unsecured debts of the decedent have been
paid. No other person has a right to the interest of the decedent in the
described property. The Affiant declares under penalty of perjury under the _
law of the state of California that the foregoing is true.

. ' c&C Mzrw
MC;MJO ’ on Date: July 25, 2011
C aimant

P.S. You stated in your correspondence to me that , "Within the next 45 days
- all pending policy related matters not assumed by IA American will be trans-
ferred to the National Organization of Life and Health Guaranty Associations
(NOLHGA) for further handling. Your claim will be among this group. Shortly
after receipt of the file, NOT_.HGA or your state's life and health guaranty
association will contact you to resolve this matter." -

If you are not in a position to bring resolution to the above matter why

did IA American forward my letter addressed to them, to you for a response?

I have no desire to wait another 45 seconds, let alone 45 days£ Please assist
me in understanding why IA American isn't responsible for paying out the
life insurance policy it assumed from Golden State Mutual? 1 would like for

you to include information on how I would go about lodging a complaint against
IA American.

Thanking you in advance for your timely and expeditious attention to this

pressing matter , as it was the decedent's request that I receive the benefits
of her policy. -

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Case 2:13-cv-OO - -
857 UA SH Document 1-1 Filed 02/07/13 Page 36 of 94 Page |D #'40 7

g

September B, 2011

Maurice Johnson, 0~68642

High Desert State Prison 132-201
Post Office Box 3030
Susanville,r California 96127

Re: Golden State Mutual Life Insurance Company in Liquidation/IA nmerican
Life Insurance Company

Insured: Mamie L. Johnson

Policy No. 81305774

Dear Mrs . Vass '.

On July 25, 2011, I responded to your letter dated July B, 2011, wherein
IA/American forwarded my letter of June 19 , 2011, to you for a response.
You stated, "Within the next 45 days all pending policy related matters

not assumed by IA 'Ameri`can will be transferred to the National Organiza-
tion of Life and Health Guaranty hssociations (NOLHGA) for further han-

dling. Your claim will `,be among this group. .."

Mrs. Vass, it is now September B, 2011 , 43 business and 61 actual days
since your letter tome dated July B, 2011 , and l have yet to receive any
return correspondence from either you, nor anyone else for that matter ,
concerning Policy Number: 91305'174. 'It‘ s increasingly apparent that there
is some type of serious discrepancy and/ or problem related to the payment
of the above policy. I am attempting to show patience in resolving this
matter formally. Howeverr l'm receiving very little assistance in my ef_
forts to obtain information. '

If, in fact, Golden State Mutual' s electronic records showed my mother' s
policy as paid out, please provide me with the following: '

1. rl‘he paperwork or records to whom the benefits were paid and the date
payment was tendered.

2. As named beneficiary of Policy Number: 81 305'1'14 , I_ request to be pro-
vided with either the original and/or an official legal copy of Mamie L.
Johnson's life insurance policy in it‘s entirety.

3. As l am currently incarcerated can I call the number you provided to
me collect in order to seek resolution to this continuing problem?

4. Lastly, l request to know the amount of the benefit payment owed to me.
Thanking you in advance for your timely and expeditious attention to this

most pressing matter , as it was the decedent's desire that I, Maurice Jobn~
son , receive the benefits of her policy.

 

Date: September 8, 2011

Cla imant /Be ef iciary

CaSe 2:13-cv-00857-UA-SH Document 1-1` Filed 02/07/1_3 Page 37 of 94 Page |D #:4_1

   

CaSe 2:13-cv-00857-UA-SH Document 1-1 Filed 02/07/13 Page 38 of 94 Page |D #:42

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High Desert State Prison, 02-201
Post Office Box 3030
Susanville, CA' 96127

Dave Jones, California Insurance Commissionsr
Department of Insurance Executive Office

45 Fremont Strest 23rd Floor

San Francisco, CA 94105

OCtOber 27, 2011

RE: Golden State Mutual Life Insurance Company in Liquidation and IA Amsrican
Lifs Insurance Company Willful, Malicious and Bad Faith Refusal to Pay a
Valid Insurance Claim.

Policyholder: Mamie L. Johnson

Policy Number: 81305774

DBEU§` MI` . JOHEES:

Golden State Mutual as First~Party Insursr and subsequently, IA American

`as Second-Party Insurer, (when it assumed (GSM) in-forcs policies) breached _
their collective implied duty of good faith and fair dealing by unreasonably,
and in bad faith, withholding payment of claim of its insured, Mamie L.
Johnson Policy Number: 81305774 to Maurice Johnson as named beneficiary of
said policy. Clearly violating subdivision (h) [l], [2], [3], [4], [51, and
[9] of §790.03 of the Insurance Code.

Presently, l have been incarcerated since April 1996. My mother, Mamie L.
Johnson, passed away in November 2007. I was infornEd in January 2011, by

an estranged family member that I, in fact, was a named Bensficiary of my
mother‘s life insurance policy held by Golden State Mutual. Subsequently,

in early February 2011, I wrote Golden State Mutual requesting to be provided
with my benefit payment, including all accrued interest since the deceased
untimely passing in November 2007. `

I, then received a letter from IA,American Life Insurance Company dated March
11, 2011, directing me to fill out and complete the provided Claimant's
Statement Form and Life Bensfit Claim Form, "...in order to complete our
claims revisw." On April 10, 2011, I mailed back the completed, signed, and
witnessed requested forms to IA American. After receiving no return written
correspondence from IA Amsrican; on June 1, 2011,`1 phoned and personally
spoke with an Agent Jason, who informed me that everything was in order,
verified my current location and stated, "You will be receiving a check in
approximately_two weeks." After not receiving either a check or additional
written correspondence; on June 19, 2011, I sent a final letter to IA American
informing them that this would be my last formal written attempt at obtaining
my benefit payment before seeking legal action.

Thsn, and only thenr did l receive a letter, not from IA American, but Michels
Vass, Claims Manager of Conservation & Liquidation'Office dated July 8, 2011,
which I responded to on July 25, 2011. After receiving no written response
from Mrs. Vass; on Ssptsmber 8, ZOll, I again attempted to obtain information
from Mrs. Vass concerning the discrepancy and/or problem related to the pay-
ment of the insured policy in full. As of the above date, I have received

no further written correspondence from, "...the commissioner's Court approved
liquidation representatives..." informing me of the status of my benefit

payment and/or reasons for the denial of the claim.

///M ~ //.//.4,,-”_"

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CaSe 2: - - - `
13 cv 00857 UA-SH Document 1-1 Fl|ed 02/07/13 Page 43 of 94 Page |D #'47

email: vassm@caclo. org

Dear Mrs . Vass:

Presently, on two separate occasions , {July 25 , 2011 and September B, 201‘|)
I mailed your office written correspondence, addressed to you personally,
attempting to both ascertain the status cf my beneficiary payment originally
held by Golden State Mutual, then legally assumed by IA American; and to `
obtain a legal copy of Mamie L. Johnson's life insurance policy as named
beneficiary of said policy.

I am uncertain if my perceived economic status, ethnicity, incarceration,
or a combination thereofr has unwittingly played any role in the lack of
assistancer information, and basic professionalism I've received from first
la American and then perplexingly from your office. Although, I can assure
you that I can become exceedingly pertinacious when someone attempts to de-
prive me of money or property.

(GSM) then subsequently,r IA merican possessed a legal duty to perform by
paying out a specified sum of money upon the death'of insured Mamie L. Johnson
pursuant to the contract of Policy Number: 81305774. .Both companies either
intentionally or unintentionally failed to live up to the duty of utmost

care and loyalty in dealing with,matters that are the subject of a fiduciary
duty thereby, breaching that .duty. In addition to failing , without legal
justification, to perform as promised in a contract of insurance. Neither
(GSM} nor IA American made any attempt to contact or issue payment to me

as named beneficiary in spite of issuing payments to the two other named
beneficiaries on December 23 , 2009.

If the CDO truly operates as a fiduciary for the benefit of claimants I,
Maurice Johnson, formally perfect a beneficial interest on insured: Mamie
L. Johnson Policy Nurrber: 81305774.

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EXHIBIT

M£§aaea:iaawmoasz@em:srl Docum - '

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P.O.. Box 3030

Susanville_, CA 96127

December 5 , 2011

IA AMERICAN LIFE INSURANCE COMPANY
P.O. Box 25670
Scottsdale, AZ_ 85255

Re: Policy Number: ` 81305774
Insured: MAMIE L. JOHNSON
Beneficiaries per Affidavit
Under California Probate Code 13101: NASA RAY, MAURICE JOHNSON, BRIAN
NEWBURN

bear Life Administration:

I originally sought formal resolution to the issuance of my individual benefit
payment pursuant to the contractual written terms of policy number: 813057'74
in early February 2011 . Including all accrued interest since the insured
untimely passing in November 2007`. On April 10, 2011 , I returned the requested
completed, singed, and witnessed Claimant's Statement Form and Life Benefit
Claim Form per request from your letter to me dated Maroh 11, 2011 , "...in
order to complete our claims review." Instead of informing me of the problem
or discrepancy associated with the issuance of payment with the pending claim
your company instead decided to not provide me with any information. Choosing
to forward my letter addressed to your office dated June 19, 2011 , to Michele
Vass, alleged Claims Manager of Conservation & Liguidation Office. Mrs. Vass
has only responded to the initial letter dated June19, 2011 . Mrs. Vass has
not returned any of my additional written correspondence including two letters

dated duly 25, 2011 and September 8, 2011 . Additionally,r I had a friend email
Mrs. Vass, still to no avail.

If, as Mrs. Vass states, “Prior to liquidation all Golden State Mutual (GSM)
in-force policies were assumed by IA American. Unfortunately, the above refer~
e.nced policy was not included in the in-force policy group as GSM's electronic
records showed the policy as paid out." please provide me with the following:

1 . A copy of the records to whom the benefits were paid, the date payment
was tendered,r and a copy of the endorsed cashed check issued in my name.

2. hs named beneficiary of Policy Number: 813057'74, I request to be provided
with an official legal copy of insured: Mamie L. Johnson's complete life
insurance policy in its entirety.

3. I request to know the total amount of the benefit payment owed to me as
named beneficiary of the above listed policy.

4. Is there a statutory time limit on the filing of a valid life insurance
claim and/or a duty to inform beneficiaries of their benefits?

5. T_.astly, I would like to be made aware of the reason[s] for the denial
and/ or withholding of payment of this valid claim?

Thanking you in advance for your timely and expeditious attention to this
most pressing matter, as it was the decedent‘ s desire that I, Maurice Johnson,
receive the benefits of her policy.

 

Date: December 5, 2011

Beneficiary laimant '

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EXHIBIT K

Case 2:13-cv-00857-UA-SH Document 1-1 Filed 02/07/13 P -

H.D.S.P., 132-201
.\.Post Office Box 3030
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January 8, 2012 ` ' uschnEUFR 60
§§

California State of, Controllers Office 'I.Bll JM n mal
Unclaimed Property

_300 Capitol Mall

SaCI`ElIll@I`.ltO, CA 958'|4-4341

Re: Golden State Mutual Life Insurance Company in Liquidation and IA American
Fraudulent Nonpayment of T_.ife Insurance Policy Number: 81305774 Policyholder:
Mamie L. Johnson and request for your official prescribed claim form.

Dear Sir:

Due to fraudulent concealment , nondisclosure, and possible malfeasance on
the part of Golden State Mutual Life Insurance Company and IA American Life
Insurance Company, I_ have been illegally denied my property rights of bene-
fit funds due pursuant to Golden State Mutual life insurance policy number:
81305774 policyholder: Mamie L. Johnson. `

I have been, and is currently incarcerated, in execution upon conviction of

PC 4B4E for a tenn of life, since _April 1996. My deceased mother and insured,
Mamie L. Johnson, passed away in November 2007 and the two other named bene-

_, ficiaries of said policy received their payment on December 23 , 2009. I was
1 never informed of the existence of the policy until January 2011 , not from

the insurance companies whose duty and fiduciary obligation was bound to
inform,r but from an estranged family member. Since that time,r I have been
receiving the run around and the transferring of responsibilities from one
organization to the next starting with IA merican to Conservation & Liquida-
tion Office to National Organization of Life and Health'Guaranty Associations

and still I have receive no payment or written correspondence from anyone
to resolve this matter as promised.

l have read that pursuant to Civil Procedure §1515 unclaimed life insurance-
escheat to the State if unclaimed and unpaid for more than 3 years after

the funds became due. Please send your prescribed claim form per Civil Pro-
cedure § 1540. '

bastly, if life insurance corporations fail to report am I entitled to'a
percentage of fines or penalties for the failure?

Sincerely ,

 

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]OHN CHIANG

California State Tnnirnller
UNCLAIMED PROPERTY Dl\/lSlON
February 14, 2012

MAURlCE JOHNSON D-68642
HDSP 132-201

PO BOX 3030

SUSANVILLE, CA 96127

RE: Clairn 3481981 - Unclaimed Property

Dear MAURICE JOHNSON D-68642:

'l`hank you for your recent inquiry regarding unclaimed funds that may have been
turned over to this office in the name(s) you requested to researchl Based on the information
you have provided, we have researched our files and are unable to locate any record of
properties under the neme(s) you submittedl lt is possible we could locate property in the

name(s) you submitted if we had more information information that may assist us in our
search includes: '

All previously used names

All previous addresses

Social Security Numb er(s)

Prop`erty Identiiication Number(s)
Correspondence from the original company

lnformation from the original company showing the property was sent to the State.
Other: '

We receive thousands of new unclaimed property accounts each year and suggest you
contact this office annually to inquire if any unclaimed funds have been reported in your name
You may do this via our website at www.sco.ca.gov. If you would like to speak to one of our
agents, we are available to assist you Monday through Friday, 8:00 to 5:00 Paciflc Time. You
can reach us at 1(800) 992-4647 or (916) 323-2827. 'l`here is no statute of limitations in filing
abandoned property claims with the State Controller‘s Ofi`ice.

Sincerely,

Reseai'ch and Public Response Unit

Unclaimed Properiy Dlvision
N|AlLlNG ADDRESS P.O. Box 942550, Saeramento, CA 94250-5873
10600 \Nhite Roek Road. Rancho Cordova, CA 95670 1 y

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EXHIBIT L

Case 2:13- - - 7 `
cv 00857 UA-SH Document 1-1 Fl|ed 02/07/13 Page 50 of 94 Page |D #'54

AMEsi:cAN“' 4
Lr-FE ms-.usAscs company

P.O. Box 25670 Scottsdale AZ, 85255
American Heallh and Life |nsurance Company (800) 711-3454 Golden State Nlutua| (800) 225»5476

January 5, 2012

Maurice Johnson, D68642
H.D.S. P.

PO Box 3030

Susanville, CA 96127

Re: P olicy Nurnber: 81305??4
lnsured: l\/larnie L. Johnson

Dear lvlr. Johnson:

'l`hank you for your letter regarding the above insurance policy.

Since this policy was handled prior to our assumption of the block of business, this would be
handled by the California Liquidation Office. l have contacted Michele Vass who has assured

me that she will look into this for you. l have also forward to her a copy of this letter.

' Since the Liquidation Office has the file they should be able to provide you with answers to your
questions However, there is not a statutory time limit in which to file a life insurance claim

lf you have any questions, or if we can be of assistance in any way, please do not hesitate to call.
Our toll free number is 1-800-225-5476.
Sincerely,

l\/Ieribeth Van Aalsburg
Life Adrn_inistration

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H.D.S.P., DZ”ZOT

P.O. Box 3030

Susanville, CA 96127

Filed 02/07/13 Page 52 of 94 Page |D #:56

January 29, 2012

Michele Vass, Claims Manager
GDNSERVATION & LIQUIDATION OFFICE
P.O. Box 26894

San Francisco, CA 94126~0894

Re: Golden State Mutual Life Insurance Company in Liquidation
Policyholder: Mamie L. Johnson
Policy Number: 81305774

Dear Mrs. Vass:

Since your refusal to either acknowledge receipt of and/or return any of

my written correspondence nor fulfill the alleged CLO Mission statement listed
in the left hand corner of your official.letterhead, in November 2011 I ear~
nestly began writing to attorneys seeking legal representation to obtain

what I believe to be a sizable and substantial payment, but was unable to
provide adequate requested information."l'hereforer on December 5, 2011 I
contacted IA American Life Administration seeking information to 5 specific
questions. Afterwardr I will be able to make a intelligent decision to either
obtain a percentage of something, instead of presently, nothing.

Meribeth Van halsburg of IA American Life Administration informed me that
she contacted you and you assured her that you would look into this for me.

I also have been made aware that presently, Conservation & Liquidation Office
has the actual file.

If, in fact, Golden State Mutual‘s electronic records showed my late mother's
policy as paid out, please provide me with the following:

1. A copy of the records to whom the benefits were paid, the date payment
was tendered, and copy of the endorsed cashed check issued in my name.

2. As named beneficiary of Policy Number: 81305774, l request to be provided
with a official legal copy of insured Mamie L. Johnson's complete life insur-
ance policy in its entirety.

3. I request to be made aware of the total amount of the benefit payment
owed to me, plus accrued interest as named beneficiary of the above listed
policy.

4. Lastly, I request to be made aware of the actual date when payment of
this life insurance claim will be paid and if not, the reason[s] for the
denial and/or illegal withholding of payment of this valid claim.

Thanking you in advance for your timely and expeditious attention to this
most pressing matter.

 
  

  

 

Benefici-

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EXHIBIT N

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On behalf of the insurance Commissioner, the
Ct_O acts to rehabilitate and/or liquidate under
Courl supervision troubled insurance
enterprises The CLO operates as a fiduciary
for the benelit of claimants handling the property
of the lailed enterprises in a prudent cost-
etlecfive, rair. llmely, and expeditious manner

 

 

d02/07/'13 Pagpssiniis¢i Page lD #:ss

San Francisco. California
94126-0894

`t'el: 415.676.5000

Fax: 415.6?'5.5002
www.caclo.org -

CONSERVAT|ON &'

 

LlQU\DATION OFFlCE

February 2, 2012

lvlaurice Johnson, D~68642
l-l.D.S.P., D2-201

P.O. Box 3030

Susanville, CA 96127

Re'. Golden State Mutual Life insurance Company in liquidation

lnsured: t\/lamie Jolmson
Policy Number'. 81305774

Dear l\/lr. Johnson,

l acknowledge your letter of January 29, 2012.

As you were previously advised,. this matter has been refen"ed to the California Life and Health
insurance Guarantee Associat`ron (CLHIGA). lhave also forwarded your subsequent

correspondence

Please direct any further correspondence to:

California Life and l-lealth Insurance Guarantee Association

'P.O. Box 16860'
Beverly Hills, CA 90201-3319

l. have also advised your cousin, Leanza Jones, that the matter has been referred to CLHIGA. l
have provided her with contact information and information regarding the tile transfer

l trust CLHIGA will contact you as soon as practicable Please be patient As is often the case
with insurance company liquidations, accessing records is sometimes challenging

Very truly yours,

, </y
l\/lic iele Vass
Claims Manager

ca CLanA

MM

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EXHIBIT

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H.D.S.P., 02-201

P.O. BOX 3030
Susanville, CA 96127

March 4, 2012

California Life and Health Insurance Guarantee association
P.O. Box 16860

severiy ains, ca 90201`-3319

Re: Golden State Mutual Life In`surance Company in liquidation and IA American

Life Insurance Company Willful, Malicious and Bad Faith Refusal to Pay a Valid
Insurance Claim.

Policyholder: Mamie L-. Johnson
Policy Nuniber: 81305774

Dear Sir/Madam:

Since early February 2011 , after first being informed of the policy existence
in January 2011 by an estranged family member, I have been unsuccessfully
attempting to obtain beneficiary payment and accrued interest owed to me
pursuant to the above referenced life insurance policy as well as requested
information needed to provide to attorney's wishing to assist me in' protecting
my legal and beneficial interests in a policy of insurance.

Everyone professionally associated with this particular life insurance claim
has dropped the ball at every turn,' from Golden State Mutual's alleged elec-
tronic records showing the policy as paid out;` the refusal of IA American
and Michele Vass, of Conservation & Liquidation Office to provide requested
information, which as named beneficiary of the life insurance policy 1 am
legally entitled to receive; to the repetitive transferring of duties and
responsibilities from one company to the next. '

When can I expect payment of the life insurance claim or information necessary
for me to provide to attorney's willing to represent me in a lawsuit to obtain
what I personally believe to be a substantial and sizable payment, otherwise
' why not just pay the valid claim, in light of the fact that payment was al-
ready issued to the other two named beneficiaries of the life insurance policy?

I would also like to be provided information on how to go about filing a
complaint with the_insurance regulating authority, including contact infor-
mation. Pursuant to Cal.Ins.Code §101'72.5 I should have received notice of
the life insurance policy existence as well as receipt of payment within
30 days of the death of the insured including any interest; additionally ,
pursth to Cal.Ins.Code §'791.13 .(r) I should have been provided with the
information I‘ve requested.

Thanl<ing you in advance for your expeditious and timely attention to this
most pressing matter, as it was the decedent' s desire that I, Maurice Johnson,
receive the benefits of her life insurance policy.

S incerely ,

 
 

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Case 2:13-cv-00857-UA-SH Document 1-1 Filed 02/07/13 Page 58 of 94 Page |D #:62
STATE OF CAL|FORN|A Dave Jones, lnsurance Commlssioner

DEPARTMENT OF |NSURANCE t
CONSUMER SERV|CES AND MARKET CONDUCT BRANCl-l
CONSUMER SERV|CES D|VlS|ON

300 SOUTH SPR|NG STREET, SOUTH TOWER

LOS ANGELES, CA 90013

www.insurance.ca.gov

CCB-012 P

Revised: 01103/'2011

REQUEST FOR ASS|STANCE

 

 

 

flame usurice Johnson. 0-68642 WOtkPhOn€ N/a
AddressP_O_ BOX 3030 l-lome Phone N/A
C[ty Susanville Z|p 96127

 

 

Before you file a complaint with the Department of insurance, you shou|d'flrst contact the insurance company,
agent or broker in an effort to resolve the issue(s). lt you do not receive a satisfactory response, then complete
this form, attach copies ot any important papers that relate to your complaint and mail to address shown above.

Please be aware that a copy of this Request for Assistance and other documentation submitted by you may be
provided to thel insurance company, agent or broker unless you indicate that you do not want a copy of your
correspondence forwarded by checking the box:

Do not forward a copy of the completed form and the documentation provided l-lowever, please
contact the insurance company and investigate the complaint on my behalfl

1. Complete name ot insurance company involved: Golden State Mutual Life Insurance
IA illiterj.can Life Insurance Company

 

2. Type oftnsurance; Autol:l l-|omel:i Litel_y:| Health[:| Otheri:l

3. (a) Name of the policyholder if different from your name:

Mamie L . Johnson

(b} lt a group policy, provide the group name: N/A

 

4. Pollcy identification or certificate number
81305774

5. C|aim number (il applicab|e)

 

6. Date loss occurred or began (if applicable)
November 2007

 

7. Brol<erlAgent(itapplicable) unknown Brol<erli\gentl_icense'numt)er unknown

Streel address P.O. Box 25670 CitylStale Scottsdale AZ Zip 35255

 

8. l-lave you contacted the company, agent or broker? Yes- No l:i

lt yes, state the date(s) and person(s) contacted lSe-e Attached COmPlail‘ltl
(Provlde copies of all correspondence)

Case 2:13-cv-00857-UA-SH Document 1-1 Fiied 02/07/13 Page 59 of 94 Page lD #:63
(corviPLETE RE\/ERSE siDE)

9. i-iave you reported this to any other governmental agency? Yes No l:l
if yes1 please give: `
('i) Name of agency: (See Complaint)

(2) File number, if i<nown:

 

10 i-lave you previously written to the Department of insurance about this matter?
res l:l No- Fiie number riravaiiabie) bare

11. is there attorney representation in this matter? Yes l: i\io-

12. is a lawsuit currently on-going or pending? Yes l:l i\io. if yes, our ability to mediate this matter is
limitedl but we Wi|i investigate your inquiry for any regulatory issues We may defer the regulatory
investigation until the finality of the litigation We ask that you stitl complete this form so we have a
record of your issue Once the matter is conciuded. w,e would welcome any information regarding
violations of law by the insurer that you or your attorney are willing to providel

13. Brief|y, describe your problem (use additional paper if needed);

(See Attached Complaint/Request For Assistance)

14. What do you consider to be a fair resolution to your problem? Full mwent Of the policy

including accrued interest, in addition to 15 2 500 00 f ` `
_ ._ . or violations of -
ulatory issues for non-payment of a valid life'insuranoe claim. reg

May 29, 2012

 

(Date)

 

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DEP ERD\BEI`S'-EGEGB§H UFE - `
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CLAiMs SEitvices BuREAU
300 SouTH SPRiNG STREET
Los ANGELES, CA 90013

www.insurancc.ca.gov

 

 

June 05, 2012

Maurice Johnson

D-68642

P.O. Box 3030

High Dcsert State Prison, 132-201
Susanville, CA 96127

Our Fi_le Number: CSB-6745853
Regarding: California Life and Health Insurance Guarantee Association

Dear Mr. Johnson:

The referenced insurance company has been placed under the control of this Department‘s
Conseryation and Liquidation Division, (415) 676-5000. Subsequently We are unable to assist you
further With your dispute With this company -

Please direct any correspondence to:

California Life and Health lnsurance Guarantee Association
P.O.Box16860

Beverly Hiils, CA 90201-3319.

Aithough We cannot assist you further in this matter, We appreciate your contacting us With your
concerns if you have any questions on other insurance-related matters, a good source of
information may be found on our internet Website at www.insurance.ca.gov.

_'§ir§;erely, __H
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Associate Insurance Compliance Oft`icer
Phone: 213 -3 46-6519

Fax: 213-897-5891

Email'. mastone@insurance.ca.gov

  
     

 

Please refer to our tile number when corresponding With us.

Case 2:13-cv-00857-UA-SH Document 1-1 Fiied 02/07/13 Page 61 of 94 Page lD #:65

EXHIBIT Q

Case 2:13-cv-00857-UA-SH Document 1-1 Fiied 02/07/13 Page 62 of 94 Page lD #:66
l STATE OF CA.LlFORN|A _
DEPARTMENT OF CORRECT{ONS AND REHAB|L|TATION
OFFICE OF APPEALS
P. 0. BOX 942883
SACRAMENTO, CA 94283-0001

THIRD LEVEL APPEAL DECISION
AUG 13 2012

Date:

In re: Maurice Johnson, D68642
High Descrt State Prison
P.O. Box 270220
Susanville, CA 96127

TLR Casc No.: l l 15508 LOCal LOg No.: HDSP»IZ-QOl'/'O

, This matter was reviewed on behalf of the Director of the California Department of Corrections and

Rehabilitation (CDCR) by Appeals Examiner D. Van Leer, Captain. All submitted documentation and
supporting arguments of the parties have been considered

I APPELLANT’S ARGUMENT: lt is the appellant's position that he is.being denied access to the Law
Library and the Law Library Paging System is inadequate The appellant contends he is being prevented
from conducting legal research because he is not being provided adequate access to the Law Library or the
Law Library Paging System. The appellant contends he has submitted six separate Law Library Access
Request (LLAR) forms between the dates of Novcmbcr 29, 2011, and January 10, 2010, and several CDCR
Forms 22, lnmate Request for Interview, Item, or Service, specifically requesting access to legal materials,
forms, and addresses necessary to access the courts, but he has only been provided one two hour session of
physical access to the Law Library in the four months he has been requesting access This denial of access to

the lLaw Library services is also denying him qualified assistance through attorney referral services and
review of the California Insurance Code and Probate Code. '

The appellant requests that he be allowed physical access to the Law Library or the Law Library Paging
System that is sufficient to enable him to conduct his legal research and provide meaningful access to the
courts or he be transferred to a facility with adequate resources for him to complete his legal work.

II SECOND LEVEL-’S DECISI_ON: The reviewer noted the appellant indicated during his interview he was
deficient in the area of insurance law and as such, required more physical access to the Law Library to
determine how to proceed with his intended litigation The reviewer advised the appellant the Law Library
Paging System would probably be more productive for his needs. The reviewer noted a list of information
and forms for the California State Department of Insurance and Controller's Office the appellant requested
were provided via the institution mail on April 25, 2012. The reviewer advised the appellant the Program _
Status Report restricted the movement of the inmate general population and that restriction was also applied
to the Law Library access for General Legal `User (GLU) inmates California Code of Regulations, Title iS,
Section (CCR) 3123(b) indicates a GLU status inmate may receive a minimum of two hours per calendar
week of requested physical Law Library access, as resources are available As such, the appellants physical
access to the Law Library as a GLU status inmate is dependent upon the available resources, custody
personnel, and the requirements of custodial security in accordance with CCR 3270. In addition, pursuant to
CCR 3123(c), and inmate shall not be limited to Law Library paging for access to legal materials except
under extraordinary circumstances which include the facility being under a modified program The reviewer
advised the appellant the specific procedures for Law Library access are contained in the High Desert State

Prison (HDSP) CDCR Operations Manual, Section Supplement l01]20.10, which refer to inmate access to
Law Libraries and lockdown access to Law Libraries b imnatcs.

The reviewer determined the appellant had previously submitted seven LLAR forms between thc dates of
November 29, 2011, and February 23, 2012, and as a result of these requests he received paging services on
February l, 2012, and physical access to the Law Library on February l, 2012, and March 2, 2012. The
reviewer advised the appellant that as a GLU status inmate he will be scheduled for physical access to the

Law Library as resources are available and if he is eligible, he may request access via the Law Library Paging
System. 7

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MAUR!CE JOHNSON, D68642 .

CASE NO. 1115508
PAGE 2

The reviewer advised the appellant that since he had been provided access to the Law Library as resources
were available; this portion of his appeal has been granted. It was determined at the Second Level of Review
(SLR) the appellant did not provide any compelling evidence to the remainder of the requested action
contained in this appeal and therefore, the appeal was partially granted

IlI THIRD LEVEL DECISloN: Appeal is denied

A. FlNDINGS: The examiner finds the institution has presented the appellant a thorough response
relative to the issues contained in this appeal. The examiner notes that as resources were determined to
be available, the appellant was provided physical access the Law Library on February l, 2012, and
March 2, 2012 and was afforded access via the Law Library Paging System on February l, 2012. The
appellant is advised inmates with a PLU status have first priority to access of the Law Libraries and GLU
status inmates are afforded access to the Law Libraries as resources are available

The examiner has determined the documents and arguments presented are persuasive the appellant has
not provided any compelling evidence to warrant a modification of the decision rendered at the SLR.
Theref`ore, relief at the Third Level of Review is not warranted

B. BAsIs Fon THE DECISION:
CCR: 3000, 3001, 3123, 3124, 3160, 3270

C. ORDER: No changes or modifications are required by the lnstitution.

This decision exhausts the administrative remedy available to the appellant within CDCR.

D. VAN LEER, Appeals Examiner J. D. LOZANO, Chief

Office of Appeals Ofiice of Appeals

cc: Warden, HDSP
Appeals Coordinator, HDSP

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FEg_§s 2012

 

 

 

 

 

 

 

 

 

 

 

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_Johrisc)ri, Maurlce ' _' ._j -_ - D §686§42§_ D2~201 ___-_ §M A. §C§ Cha:l_rrnan §'

 

 

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_Cas_e 2:13-c\/- -00857- UA- SH Document __-1 1 Filed 0_2/07/1_3_ Page 67 of 94 _Page |D #: 71

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Case 2:1-3-c\/- -00857- UA- SH Document 1- 1 Filed O2/O7/13 Page 68 of 94 Page |D #: 72

State of California Department of Correctioris and Rehabilitation
_ l-ligh Desert State Prison
Memorandum
Date: March 6, 2012
TO; inmate Johnson, D68642 _ 1 20 l
FDB l -2()7L 0 '2’
Subject: APPEAL LOG #HDSP-D12-00170

FIRST LEVEL RESPONSE

APPEAL DECISION: Pa_rtially grantcd_.

APPEAL ISSUE: You state that law library paging services are inadequate and that you have
not had physical access to the law library.

APPEAL REQUEST: You request access to the law library, improved paging services or
transfer to a location With better law library access.

APPEAL RESPONSE_: Inmate Johnson, in reaching a decision on your appeal, your CDCR-
602 and its attachments, applicable sections of` the California Code of Regulations (CCR), Title
15, the Department Operations Manual (DOl\/l), the High Desert State Prison (HDSP)
Supplernent, Library And Law Library (May 2011), and your Wednesday, February 22, 2012,
interview with Mr. Cumrnings, Acadernic lnstructor, were reviewed and considered

A review of the HDSP Test oon’ult Bast Educatlon Dafabase indicates your reading grade
point level is 12.9. A review of the Disabilr`ty and E]_‘fccrive Communicorion System indicates
you have no disabilities which require special accommodation to achieve effective
communication However, effective communication Was achieved during your interview with
Mr. Curnmings using normal conversational tones, and the manner in Which you were able to
restate the appeal§ issue in§ your own Wo_rds.

Inmate Johnson, during the interview with Mr. Cummings you stated you have not had physical
access to the law library and that the paging services received have been inadequatel The CCR
Title 15, Section 3123(b), states in part: lnmates on GLUstatus may receive a minimum of£wo
hours per calendar week of requested physical law library access, ns resources are available
Your physical access to the law library as a GLU is dependent on available resources,` custody
personnel, and the requirements of custodial security in accordance with the CCR Title 15,
Section 3270. lnrnate J'ohnson, per the CCR Title 15, Section 3123{c): When unable to
physically access the law library, on inmate may request access to legal material through
delivery of those materials to the inmate by library staff This process is referred to as law
library paging An inmate shall not be limited to law library paging for access to legal
materials except under extraordinary circumstances including but nor limited to, the
following: (l) the inmate is directly under a prison lockdown Specific procedures for law

' - - - - n 1-1 -Fi|€d 02/07/13 Pa e 69 Of 94 Pa e lD #273
cassai§»ss?saarA SH Docqu t g g

Appeal Log #D12-00170
'Page 2

library access are contained in the HDSP Supplement, Section 101120.10, Inmate Access to
Law Libraries, Lockdown Access to the Law Library by Inmates.

You have submitted six LLAR forms dated November 29, 2011, December 2], 2011,
December 22, 2011, January 4, 2012, January 9, 2012, and January 10, 20]2. On
February l, 2012, you received paging services based on these LLAR forms Specific
requirements for the content of law libraries is contained in CCR Title 15, Section 3124.

Based on the information above, your appeal has been partially granted. You may request law
library access as a GLU and will be scheduled accordingly, as resources are available ln
addition, you may continue to request and receive paging services, if eligible Your request to
-be transferred to another institution is beyond the scope of-a library appeal and is denied.

If you are dissatistied with this decision, you may appeal to the Second Level of Review by
following the directions on your CDCR 602 form. '

Associate Warden
Central Operations

cc: Central File
Appeals File

Case 2:13-cv-00857-UA-SH Document 1-1 Filed 02/07/13 Page 70 of 94 Page |D #:74

State of California Department of Corrcctions and Rchabilitation

High Desert State Prison

Memorandum

 

Date: April 30, 2012

To: Inmate lohnson, D68642
FDB 1 -201

Subject: APPEAL L()G #HDSP-D12-00170
SECOND LEVEL RESPONSE

APPEAL DECISION: Partially granted . <

APPEAL ISSUE: You state that Law Library physical access and paging services are not
adequate to research and advance legal action involving an insurance company.

APPEAL REQUEST: You request increased physical access to the Law Library or transfer to
a location with better Law Library access.

APPEAL RESPONSE: lnmate Johnson, in reaching a decision on your appeal, your CDCR-
602 and its attachments, applicable sections of the California Code of Regulations (CCR), Title
15 , the Department Operations Manual (DOM), the High Desert State Prison (HDSP)
Supplement, Library And Law Library, and your Wednesday, April 25, 2012, interview with
Mr. Wilson, Vice Principal, were reviewed and considered

A review of the HDSP Test of Adult Basic Education (TABE) database indicates your Reading
Grade Point Level (RGPL) is 12.9. A review of the Disability and Ejj"ective Communication
System (DECS) indicates you have no disabilities which require special accommodation to
achieve effective communication However, effective communication was achieved during
your interview with Mr. Wilson using normal conversational tones, and the manner in Which
you were able to restate the appeal issue in your own words.

lnmate Johnson, during the interview with Mr. Wilson, you stated your personal deficiency in
the area of insurance law. Due to this you require more physical access to the law library to
determine a legal direction, then paging would likely be more meaningful During the
interview, you stated some of the information you are seeking so some public agencies that
may be helpful were suggested A list of information and forms for the California State
Department of lnsurance and Controller’s Office Was provided to you by institution mail on
April 25, 2012. You stated you understand that the nature of your legal quest is as a General
Library User (GLU). The daily Program Status Report limits General Population movement to
include inmate access to the library as a GLU. The Title 15, Section 3123(b), states in part:
lnmates on GL U status may receive a minimum oftwo hours per calendar week of requested
physical law library access, as resources are available Your physical access to the law library

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. Inmate Johnson, D68642
`Appeal Log #Dl2-001'1‘0
Page 2

as a GLU is dependent on available resources, custody personnel, and the requirements of
custodial security in accordance with the Title 15, Section 3270. lnmate lohnson, per the CCR
Title 15, Section 3123(c): When unable to physically access the law library, an inmate may
request access to legal material through delivery of those materials to the inmate by library
stajj’. This process is referred to as law library paging An inmate shall not be limited to law
library paging for access to legal materials except under extraordinary circumstances
including but not limited to, the following: (l) the inmate is directly under a prison lockdown
Speciflc procedures for law library access are contained in the HDSP Supplement, Section
101120.10, Inmate Access to Law Libraries, Lockdown Access to the Law Library by Inmates.
You have submitted seven Law Library Access Request (LLAR) forms dated
November 29, 2011, December 21, 2011, December 22, 2011, January 4, 2012,
January 9, 2012, January 10, 2012 and February 23, 2012. On February 1, 2012, you received

paging services based on these LLAR forms and you received physical access on
February 1, 2012 and March 2, 2012.

Based on the information above, your appeal has been partially granted You may request law
library access as a GLU and will be scheduled accordingly, as resources are available ln
addition, you may request and receive paging services, if eligible Your request to be
transferred to another institution is beyond the scope of a library appeal and is denied

If you are dissatisfied with this decision, you may appeal to the Third Level by following the
directions on your CDCR 602 form.

F. FOULK
Chief Deputy Warden (A)

cc: Central File
Appeals File

 

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_ EFFECTIVB CoMMUNiCATio REQUIRED

 

 

    

    

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ATTACl-IMENT A

   
    
   

 

Name: ijol,mgom CDCR# O@<g`(gqt l.og ii HDSP'~ D - ")_ ~ 001-19
§ lABE score database or DECS indicates: ]Q,q MRGPL is above 4.(1 or l:l RGPL is tl.U or below
Dlsal)lllty and Effective Communicatlon System lndicate{s):a')tl\b §§ he inmate is not listed with a disablllty.

The inmate is hot listed with a learning dlsabillty. or .P l

[:l Documerm-;o olseelut\t(u=.sl horse As:

 

Wo special communication needs were noted before the inlerview. l:| A magnlfying lens has previously been issued
\ _

 

 

Speclal Needs requiring accommodation to achieve effective communication

 

 

 

The above has been verified by the appeals office

EFFECTl\/E COl\ll|VlUNlCATlQN MUST BE ASSURED l-\T THE BEG|NN|NG OF EVERY |NTERV|EVV! -

_THERE ARE NO EXCEPT|ONS! , v
NOTE: Any indication before or during the interview that the inmate may need assistance of any kind lo understand the interview and l ortho
written appeal response, must be documented on this form and addressed in the appeal responsel Use the following guidelines:

 

The appeal response is to state the kind of communication that was used during the personal interview
Tf`l_lS Cah be atty One 01 the following: lndicate which method Was actually usedfor the interviewl

 

 

 

M{Dra| in tview using [l ertten notes - all notes must be attached fo, and remain wlth, the appeal
E/>Mnal conversational tones l:l Signlng (ASL) or l:\ foreign language-interpreter Name:
simple Engllsh 7 Name the interpreter in the response 7 Language;

 

slower speech

- [l loud speech - There must be an indication that the inmate responded appropriatelyl
lt the inmate l`: he r. aids . ' »
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f:\ lip`|-eading _ USE Ol'll§l ElS 61 lElSl l'€SOI'lZ ARP ll.E.Z.eslutes: A.n inmrne's ability to tip rem! slur/l not be the sole source used by
.rlr;fftr.r a means of effective communication unless tile initiate lms no r)tllerlnetms qfconmumicatr'on.

 

 

The response memorandum must indicate how the interviewer was certain that the inmate Was able to
understand what was stated during the interview Thls may be established by:

 

gifts inmale’s personal interaction Wlth the lnterviewet.

 

g e detail with which the inmate was able lo restate the discussion in his own words
l §l the lnmate's mannetlsms."

{How he carried himself - body language -expresslon - hostility (lf applicable) - facial expressions - gestures - attitude etc.)

 

[l the lomale's written statements ~ evidenced by attached notes.

 

 

An inmale, whose Readlng Grade Poinl Level (RGPL} or vision impairment requires special accommodation lo be'able lo understand the written responsel
once delivered lo him. must have`the response include the applicable element chosen from the list below.

Appeals where no interview was conducted pursuahl to conditions permitted in California Code ol Regulallons (CCR) Seclion 3084 still require that the
response be effectively communicated to the inmatel '

ll no interview was conducled, then the specific reason must be slated citing the applicable CCR section

 

m The appeal 1510 be read to the inmate bye Staft Asslstanl because of his l:lvlsion impairment l:l Low Reac|ing Level
and record how the lnmate's understanding was assured '

 

l:l The appeal is printed in an enlarged font lo accommodate the inmale's vision impairment _
The chart on the back of this form was used lo determine an appropriate lonl slze.

 

 

 

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littervlewel"s name (plcase prlnljl and signature Date oflntervlcw

 

5 PERMANENT AI’PEAL AT'TACHMENT - DO NOT REMOVE §

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Case 2:13-cv-00857-UA-SH Document 1-1 Filed 02/07/13 Page 73 of 94 Page lD #:77

     

_ __ ' ATTAC]'!MENT A

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EFFBCTIVE COMMUNI CATION REQUIRE _ .
Name jetway/d cocn# DW& LU/ tog# l-iosP- g - f/,;r- 50;'79
TABE score database or DECS indicates: low 01 MRGPL is above 4.tl or l:]r RGPL is 4.0 or below

Disabl|ity and Effective Communication Sy_stem indicate(s): 7 l;}@e inmate ls not listed with a disability.
The inmate is not listed with a learning disability. or z i.

i:| Docuneurrzo uisnaltrrvties) noreo As:

`M special communication needs were noted before the interview l:] A magnifying lens has previously been issued.

j

 

 

Special Needs requiring accommodation to achieve effective communication:

 

 

 

The above has been verified by the appeals office '

EFFECTl\/E COl\/l|\/iUNlCATlON t\/|UST BE ASSURED AT THE BEGlNNlNG OF E\/ERY lNTER\/lEV\/!
` THERE ARE NO EXCEPT|ONS! '
NOTE'. Any indication before or during the interview that the inmate may need assistance of any kind to understand the interview and l or the
written appeal response must be documented on this form and addressed in the appeal response Use the following guidelines:

The appeal response is to state the kind of communication that Was used during the personal interview

 

 

 

 

__Ihis can be any one of the following: - vindicate which method was actually irsedfor rhe interview
`Wal interview using ' i:[ ertten notes - all notes must be attached to, and remain with, the appeal.
Mnal conversational tones m Signing (ASL) or I:l foreign language interpreter Name:
ij simple Engilsh - ' Name the interpreter in the response ' Language:

 

 

[:I stower speech

ij loud speech - There must be an indication that the inmate responded_appropriately.
ltthe inmate l`:, he _ ads . -
rs own ar"‘g '

}:| Hp`l.eadmg _ USB Ofliy EiS 3 i¢':lSi ieSOI`if ARP I!.E.Z.e srore.r: A.u inmnrr:'.s ability to lip remf shaft nor be tire rote source insert by
sur/furr rr means of effective communication unless fire irmrriru luis no r)rirer merrn.r qfcornnurnicrrriou.

 

 

The response memorandum must indicate how the interviewer was certain that the inmate Was able to
understand what was stated during the interview This may be established by:

l:”l/the inmates personal interaction with the interviewer. ‘

E'ihe detail with which the inmate was able to restate the discussion in his own words.

Q'tma inmate‘s mannerisms.`

. (How he carried himself - body language --expression - hostility (if applicable) _- facial expressions ~ gestures ~ attitude etc.)
Mnmate's written statements - evidenced by attached notes

 

 

 

 

 

An inmale, whose Reading Grade Poinl Level (RGPL) or vision impairment requires special accommodation to be'able to underslan
once delivered to him, must have`the response include the applicable element chosen from the list beiow.

Appeals where no interview was conducted pursuant to conditions permitted in California Code of Regulalions (CCR) Section 3084 still require that the
response be elieciively communicated to the inmate

|f no interview was conductedl then the specilic reason must be stated citing the applicable CCR section

l: The appeal is lo be read to-the inmate by a'Stail Assistant because of his Evision impairment i:l Low Reading Level
and record how the inmate’s understanding was assured '

d the written response

 

 

ij The appeal is printed in an enlarged font to accommodate the inmate's vision impairmentl
The chart on the back of this form was used lo determine an appropriate toni size

 

 

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5 PERMANENT APPEAL ATTACHMENT - DO NOT REMOV t 5

sir nn.mwlu

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CDCF_=, 22 (10;09)

SECT\ON A: `lNN|ATE/PAROLEE REGUEST

 

    

NAME (Pllnl): (LAST NAME) [F|RST NAME] CDC NUMBEF\: S[GNATURE:
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SECTlON C: REQUEST FOR SUPERV|SOR REVIEW

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STATE OF_ CAL|FOFINIA DEPAHTMENT OF COF|RECT|ONS AND REHAB|L|TAT|ON

zl:}hg»;rz§f(I:DA/W BMEQTMMRVM, lmw@in\ac£ Filed 02/07/13 Page 75 of 94 Page lD #:79

SEchoN A: =lNMATE/PAnoLEE REQuEsT

 

 

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SECT|ON B: STAFF RESPONSE

HESFOND|NG STAFF NAME: DA`|’E:

 

S|GNA'[URE: DATE RE|'URNED:

 

 

 

 

 

 

 

 

SECT|ON C: REQUEST FOR SUPERV!SOF! REV|EW

PROVLDE REASON WHY YOU DISAGREE WITH STAFF RESPONSE AND FORWARD TO RESPONDEN'I'S SUPERVISOR IN PERSON`OR BY US MAIL. KEEP FINAL COLDENROD
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' $ECTION A: INMATE/PAROLEE REQUEST

 

 

 

 

 

 

 

 

 

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1132-201 I .A.C. Chairman Leqal Mai COrrect Address
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Guarant Associations

 

 

Section of the American B A` ' ' ~
a repeat of what transpired on 11/15/1‘| , therefore, please provide me with the correct addresses
of the Organizatic)ns listed above. Than]< You

METHOD 0F DELWERY (cHEcK APPROPRIATE BOX) **NO RECEIPT WILL BE PROVIDED lF REQUEST IS MAILED **

 

 

 

 

 

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SECT|ON B: STAFF RESPONSE

HESP°ND|NG STAFF NAME: DATE: SlGNATURE :

 

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PROV'IDE. REASON WHY YOU DISAC-REE WITH STAFF RESPONSE AND FORWARD TO RESPONDENTS SUPERVISOR lN PERSON OR BY US MA]L_ KEEP FENAL CO]_DENROD
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SECTlON D: SUPEF{V|SOR’S REVIEW

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SECTION A: lNNlATE/PAROLEE REOUEST

 

 

 

 

 

 

 

 

 

   
 
  

 

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SECT|ON B: STAFF RESPONSE

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SECTION C: REQUEST FOR SUPERV|SOR REV|EW

PROV]DE REASON WHY YOU DISAGR.EE WITH STA.FF RESPONSE AND FORWARD TO RESPONDENT'S SUPERV]SOR lN PERSON OR BY US MAIL KE`.EP FINAL GOLDENROD
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Per (‘CR Title 15, §3123 (h). "All Drisoners. reqardless of their classification or_housinq stats
shall be entitled to physical law library access that is sufficient to provide meaningful access
to the courts." This facility averages one locde every other month therefore,r is it establis?
ed that during periods of lockdown only PLU status will receive access to the Courts at the ex-
¢ pense¢GLU status , who are also, by law and regulation entitled to access tO law libraries?

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Case 2:13-cv-00857-UA-SH Document 1-1 Filed 02/07/13 Page 78 of 94 Page |D #:82

Aprn 25, 2012
lnmate lohnson, 068642

During our interview for your Second Level Appea|, l concluded you need additional resources to pursue
your claim to life insurance funds-as a listed beneficiary. | empathize with your dilemma of not knowing
how to research your situation and the law library time it would take to research this. This may involve
a civil suit, however, you may consider pursuing public resources, first. ln your research, you would
eventually discover these so l can save you some time with the enclosed form and directions

The letter you wrote to the PLO is very descriptive so l suggest you attach a similar one to the RFA form.
Note the dates you wrote to the insurance companies, their lack of response and include a copy of the
insurance company letter that shows you have a valid claim as a beneficiary You may consider trying to
determine if this is unclaimed property after a response from the Dept of lnsurance.

W.Wi|son

Vice Principa|

Case 2:13-cv-00857-UA-SH Document 1-1 Filed 02/07/13 Page 79 of 94 Page |D #:83

July 10, 2012

|/lVl johnson

l am surprised you didn't get a favorable response from the resources | sent you. l will talk to our Senior
Librarian about obtaining the resources you requested Since it is not criminal law as mandated, we will
be limited but l will see what we can find. You may also consider an attorney for a contingency fee. n
Since so much time has passed, 70% of something is better than 100% of nothing From the local yellow
pages: (attorney) loseph_Po|ockow, P.O. Box 2070303, Susanvil|e, Ca 96127.

The problem with providing l\/lAC with applications for FRC and CCC is the original goes away so no
copies can be made. We go through this all the time. That is why they are also in the libraries.

/¢Z~

.Wilson

Vic_e Principal

Case 2:13-cv-00857-UA-SH Document 1-1 Filed 02/07/13 Page 80 of 94 Page |D #:84

EXHIBIT

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F-‘.O. Box 25670 Scottsdale AZ, 85255
Arnerjoan Heafth and Life lnsurance Company (800) 711-3454 Go|den State Mutuai (800) 225-5476

October 19, 2012

Mau.rice Johnson D-68642

High Desert State Prison

P() Box 3030 D7-224

Susanville, CA 96127

RE: Insured Mamie L. Johnson
Policy # 81305774

Dear Mr. Johnson:

Thank you. for your letter and the opportunity to be of assistance to you.

l have reviewed your letter and have referred the matter to management so that they can look into this
for you. I understand your B'ustration in getting this resolved and I will do what I can to help in

obtaining the proceeds that are owed to you as a beneficiary for this policy.

In reviewing this matter it may be take several weeks to respond back but I will do so as soon as I
have an answer for you. '

If you have any further questions, or if we can be of further assistance in any way, please do not

hesitate to call our of’lices. We are open Monday through Thu.rsday 7am to me and on Friday from
7am to 12pm MST. You may also email our Client Service Department at csr@iaarnerican.com.

Sincerely,

Life Administration

"Trademark of Industrr'al Ah'r'ance insurance and Financz'al .S'ervices Inc. ”

Case 2:13-cv-00857-UA-SH Document 1-1 Filed 02/07/13 Page 91 of 94 Page |D #:95

PROOF UF SERVICE BY UNITED STATES MAIL

I, PAUUYlCC thT%Dn , am over the age of eighteen years,
a resident; and. prisoner of the State of California with a present

mailing address of: High Desert State Prison P. 0 Box 3030
Susanville, CA 96127- 3030.

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the places(s} so addressed.

l declare under penalty of perjury under the laws of the State of
California and the United States that the forgoing is true and correct
and that this declaration was executed on (Tmumq bdq QQLb ,
at Lassen County, in Susanville, California

 

 

NOTE: Pursuant to the holdings in Houston v. lLack (1988) 487 U.S.
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